Case 1:13-cv-01066-PLM ECF No. 120-1, PageID.1899 Filed 12/09/14 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

STRYKER CORPORATION, et al.,

Plaintiffs,
                                                         File No. 1:13-CV-01066
v.
                                                         The Honorable Robert Holmes Bell
CHRISTOPHER RIDGEWAY, et al.,

Defendants.
___________________________________________

STONE SURGICAL, LLC,

Plaintiff,
                                                         File No. 1:14-CV-889
v.
                                                         The Honorable Robert Holmes Bell
STRYKER CORPORATION, et al.,

Defendants.
___________________________________________

                                              ORDER

         Considering the Motion for Leave of Court filed by Christopher Ridgeway in

No. 1:13-CV-01066,

         IT IS HEREBY ORDERED that the Motion for Leave to File Exhibits Under Seal filed by

Christopher Ridgeway is granted.

         Kalamazoo, Michigan, this ______ day of December, 2014.




                                                  UNITED STATES DISTRICT JUDGE




864560
